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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                19-CR-561 (LAP)
       -against-                                11-CV-691 (LAK)

STEVEN DONZIGER,                                    ORDER
                 Defendant.




LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    Mr. Donziger’s counsel, Lauren Regan, has informed the

Court that she will not attend trial in person.         As the Court

noted in its order of October 28, a phone will be available on

the defense table that can also be used in the jury room for Mr.

Donziger to consult with counsel during trial.         (Dkt. no. 196.)

Additionally, consistent with the order attached hereto as

Exhibit A, Mr. Donziger will be permitted to bring his personal

cellular phone into the courtroom for trial and may use it to

consult with and send text messages to counsel, as he would pass

a note at trial.   (Standing Order dated Sept. 8, 2020, In re:

Coronavirus/COVID-19 Pandemic, No. 20-MC-316, dkt. no. 1 at 4.)

Mr. Donziger is reminded that “Local Civil Rule 1.8 remains in




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full force and effect, including the absolute prohibition on any

audio or video recording of any proceeding.”           (Id. at 4.)


SO ORDERED.

Dated:     November 5, 2020
           New York, New York




                                           ___________________________
                                           LORETTA A. PRESKA, U.S.D.J.




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                     Exhibit A




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